Case:17-03283-LTS Doc#:14637-1 Filed:10/20/20 Entered:10/20/20 13:00:41   Desc:
                           Exhibit A Page 1 of 2



                                     Exhibit A

                 Schedule of Deficient Claims to Be Set for Hearing
                                  Case:17-03283-LTS Doc#:14637-1 Filed:10/20/20 Entered:10/20/20 13:00:41                                                     Desc:
                                                             Exhibit A Page 2 of 2

                                                                   One Hundred and Second Omnibus Objection
                                                           Exhibit A - Schedule of Deficient Claims to be Set for Hearing
                                                                                                                                                                                       ASSERTED CLAIM
    NAME                                                                                  DATE FILED       CASE NUMBER                       DEBTOR                      CLAIM #           AMOUNT
1   NAVARRO LUGO, ROBERTO                                                                   5/24/2018      17 BK 03283-LTS Commonwealth of Puerto Rico                      24111           Undetermined*
    URB EL RECREO
    C6
    HUMACAO, PR 00791

    Reason: Proof of claim purports to assert liabilities associated with the Commonwealth of Puerto Rico, but fails to provide any basis or supporting documentation for asserting a claim against the
    Commonwealth of Puerto Rico, such that the Debtors are unable to determine whether claimant has a valid claim against the Commonwealth of Puerto Rico or any of the other Title III debtors
2   NAZARIO, ARACELIS                                                                        5/7/2018      17 BK 03566-LTS Employees Retirement System of the               11823               $ 70,000.00
    PO BOX 361204                                                                                                          Government of the Commonwealth
    SAN JUAN, PR 00936-1204                                                                                                of Puerto Rico

    Reason: Proof of claim purports to assert liabilities associated with the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, but fails to provide any basis or
    supporting documentation for asserting a claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico, such that the Debtors are unable to determine
    whether claimant has a valid claim against the Employees Retirement System of the Government of the Commonwealth of Puerto Rico or any of the other Title III debtors
                                                                                                                                                                      TOTAL                     $ 70,000.00*




            * Indicates claim contains unliquidated and/or undetermined amounts                                                                               Page 1 of 1
